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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 1:21-CV-22863-KMM

   JUDITH ANNE HAYES, individually and on behalf of
   W.H., a minor, ROBYN MCCARTHY and JOHN
   MCCARTHY, individually and on behalf of L.M., a minor,
   AMANDA BANEK, individually and on behalf of D.B.
   and B.B, minor children, KAS ARONE-MILLER,
   individually and on behalf of R.M. and L.M., Minor
   children, ALISHA TODD, individually and on behalf of J.T,
   a minor, JAMIE KINDER, individually and on behalf of
   R.K., a minor, CHRIS RODRIGUEZ, individually and on
   behalf of J.D.-F., a minor, JACK KOCH, individually and
   on behalf of R.K, B.K., and A.K., minor children,
   KRISTEN THOMPSON, individually and on behalf of
   P.T., a minor, EREN DOOLEY, individually and on behalf
   of G.D., a minor, TOM COLLINS, individually and on
   behalf of Q.C., a minor,
                                        Plaintiffs,

   vs.

   GOVERNOR RONALD DION DESANTIS, in his official
   Capacity as Governor of the State of Florida; FLORIDA
   DEPARTMENT OF EDUCATION, RICHARD
   CORCORAN, in his official capacity as Commissioner of
   the Florida Department of Education, ORANGE COUNTY
   SCHOOL BOARD, MIAMI DADE COUNTY SCHOOL
   BOARD, HILLSBOROUGH COUNTY SCHOOL
   BOARD, PALM BEACH SCHOOL BOARD,
   BROWARD COUNTY SCHOOL BOARD, PASCO
   COUNTY SCHOOL BOARD, ALACHUA COUNTY
   SCHOOL BOARD and VOLUSIA COUNTY SCHOOL
   BOARD.
                                        Defendants.
   ______________________________________________/

         DEFENDANT, THE SCHOOL BOARD OF VOLUSIA COUNTY, FLORIDA’S,
                  REPLY IN SUPPORT OF MOTION TO DISMISS

          Defendant, THE SCHOOL BOARD OF VOLUSIA COUNTY, FLORIDA (hereinafter,

   “VCSB”), by and through its undersigned attorneys, hereby files its Reply in Support of its Motion

   to Dismiss Plaintiffs’ Complaint for Injunctive Relief, and as grounds therefor, states as follows:



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      A. Plaintiffs’ Response Improperly Relies on Documents Outside of their Complaint.

          The Plaintiffs’ Response to Defendant, VCSB’s Motion to Dismiss, asserts that Ms.

   Kinder, the Plaintiff whose child, R.F., attends school in Volusia County, requested “several

   reasonable accommodations including asking for her classmate’s teacher to be masked and that

   R.K. be able to eat and drink in an outdoor seating area.” [ECF 103, p. 2.] To which, she allegedly

   was denied. Id. These allegations, as well as the allegations set forth in paragraphs 1 through 8 of

   the Plaintiffs’ Response, are not based on the Complaint, but on affidavits that were filed by the

   Plaintiffs in support of their Amended Motion for Preliminary Injunction, which was denied by

   this Court. [ECF 80-8] Unfortunately for the Plaintiffs, the Court is constrained to review only the

   allegations as contained within the four corners of the Complaint and may not consider matters

   outside the pleading in ruling on a motion to dismiss. See Austin v. Modern Woodman of America,

   275 Fed.Appx. 925, 926 (11th Cir. 2008).

          Here, based solely on the allegations and documents referred to in the Complaint [ECF 4],

   VCSB reiterates again that R.F. and Ms. Kinder failed to allege that they specifically demanded

   reasonable accommodations. Moreover, as stated in VCSB’s Motion, under the ADA, a student is

   not entitled to the accommodation of her choice, but only to a reasonable accommodation. Redding

   v. Nova Southeastern University, Inc., 165 F.Supp.3d 1274, 1297 (11th Cir. 2016).

          Indeed, the Complaint fails to state any specific action by VCSB which may be grounds

   for Plaintiffs’ claims. Even in the Plaintiffs’ Response, their allegations are directed at the

   Governor and his actions to “relentlessly enforce his Orders thought [sic] the Department of

   Education” and “attempt to revoke the school board member’s salaries” and “in regulation relating

   to the requirement of a parental opt-out, the drafters provided a direct cause of action under the




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   parents’ bill of rights, §1014.01, Fla. Stat., et seq. when a child who chooses not to wear a mask is

   subject to discrimination.” [ECF 103, p. 9.]

          Thus, the Complaint must be dismissed as to VCSB for failure to state a cause of action.

      B. Plaintiffs Failed to Exhaust Administrative Remedies.

          Even if this Court permits allegations outside of the Complaint to be considered, the

   Plaintiffs’ Complaint must be dismissed where the Plaintiffs have failed to exhaust administrative

   remedies. The Plaintiffs assert that this Court, in denying their Motion for Preliminary Injunction,

   failed to recognize that “the gravamen of the case was the refusal of entry into the schoolhouse”

   and not the denial of FAPE. [ECF 103, p. 10.]

          However, as evidenced by the Plaintiffs’ Complaint, the gravamen of the Plaintiffs’

   Complaint seeks to enjoin Defendants “from interfering with [the Plaintiffs’] rights to a free and

   appropriate public education in the least restrictive environment.” [ECF 4, ¶56; p. 32, 34; see also

   ¶¶ 78-89.] Even the Affidavit of Jamie Kinder — a document that the Plaintiffs’ rely on in their

   Response but which is not a part of their Complaint — evidences that the Plaintiff challenges the

   alleged denial of FAPE. Specifically, Ms. Kinder alleges “R.K. deserves equal, free, safe public

   schooling under the law. In her case, and thousands of other[sic] like her around our county and

   state, a separate and isolated education is nowhere near an equal education….It is my

   understanding that the virtual program is abysmal this year because the district has not properly

   funded the same….” [ECF 80-8, ¶21, 24.] Accordingly, Plaintiffs were required to exhaust

   administrative remedies as set forth under IDEA. See Fry v. Napoleon Community Schools, 137

   S. Ct. 743 (2017).

          Moreover, while exhaustion of administrative remedies is not required where resort to

   administrative remedies would be (1) futile or (2) inadequate, the Plaintiffs have failed to




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   previously allege futility or inadequacy. See M.T.V. v. DeKalb County School Dist., 446 F.3d 1153,

   1158 (11th Cir. 2006). As stated in VCSB’s Motion, Plaintiffs’ mere conclusory allegation that

   exhaustion would be futile is insufficient. Id.; [ECF, ¶ 164.]

           Further, this Court has already held that the Plaintiffs must exhaust administrative remedies

   where the gravamen of their Complaint is the denial of FAPE and that exhaustion of administration

   remedies would not be futile. [ECF 98]

           Thus, the Plaintiffs’ failure to exhaust their administrative remedies warrants dismissal of

   this suit.

       C. Venue Must Be Transferred to the Middle District Court under Forum Non
          Conveniens Theory.

           In its Response, the Plaintiffs falsely assert that VCSB has not stated “any specific reason

   why the Northern District, or the Middle District would be more convenient than the Southern

   District, other than to sever the claims.” In its Motion, VCSB laid out the specific reasons pursuant

   to the Section 1404(a) factors why the Middle District would be more convenient. In summary,

   VCSB asserted in its Motion that venue must be transferred to the Middle District Court where

   seven (7) out of the ten (10) Defendants are located in the Middle District or the Northern District,

   and eight (8) out of the fifteen (15) minor children who are Plaintiffs in this case attend school in

   the Middle District, and it would be more convenient even for those Plaintiffs and Defendants in

   the Northern District to litigate their claims in the Middle District rather than the Southern District

   due to the distance. Arguably, while the Plaintiffs assert in their Response that the use of remote

   proceedings have made it convenient for all parties to litigate in the Southern District that will

   definitely not be the case in all situations. As we have seen in the most recent hearing before this

   Court, parties may be required to appear in person in the Southern District, unless permission is

   specifically granted by the Court to appear telephonically.



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          Secondly, the location of relevant documents and sources of proof makes the Middle

   District the appropriate forum for the eight minor children Plaintiffs and four Defendant school

   boards located in the Middle District of Florida.

          Lastly, the locus of the operative facts underlying the Plaintiffs, Jamie Kinder’s and R.K.’s

   claims against VCSB would have arisen from and occurred in Volusia County and have no

   connection to the Southern District of Florida. The same would be the case for the three other

   school boards located in the Middle District of Florida. Moreover, the operative facts underlying

   the Executive Order at issue here occurred in Tallahassee, Florida, which is in the Northern District

   of Florida, and would have no connection to the Southern District of Florida. Courts give less

   deference to a Plaintiff’s chosen forum ‘where the operative facts underlying the cause of action

   did not occur within the forum chosen by the Plaintiff, and where the Defendants’ “home venue

   privilege” weighs heavily in favor of transferring this case to the Middle District of Florida. MSPA

   Claims 1, LLC v. Halifax Health, Inc., 2017 WL 7803813 *3, 5 (S.D. Fla. October 13, 2017).

          Thus, for all the foregoing reasons, the totality of the circumstances necessitate a transfer

   of venue to the Middle District of Florida.

                                            CONCLUSION

          For the aforementioned reasons, THE SCHOOL BOARD OF VOLUSIA COUNTY,

   FLORIDA, respectfully requests that the Court enter an Order dismissing the Plaintiffs’ Complaint

   with prejudice; or alternatively, transferring this matter to the Middle District of Florida, Orlando

   division.




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                                                 DORAN, SIMS, WOLFE & YOON


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                                    CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on September 28th, 2021, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being served

   this date via electronic mail to the following counsel of record:

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